Case 1:22-cv-02696-AT Document 65 Filed 05/15/23 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

DEBORAH BROWN, individually and on behalf
of all others similarly situated,

Plaintiff,
-against-
COTY, INC,

Defendant.

ANALISA TORRES, District Judge:

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DATE FILED: __ 5/15/2023

22 Civ. 2696 (AT)

ORDER

By May 22, 2023, the parties shall file a joint letter stating their position on alternative

dispute resolution. ECF No. 60 § 10.
SO ORDERED.

Dated: May 15, 2023
New York, New York

On-

ANALISA TORRES
United States District Judge
